          Case 4:17-cv-01615 Document 1 Filed in TXSD on 05/29/17 Page 1 of 11



                        IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

 YUCHEN LEI,                                     §           NUMBER:
                                                 §
     Plaintiff,                                  §
                                                 §
 Versus                                          §
                                                 §
 CHRIS KIRK, Sheriff of Brazos                   §
 County, Texas, Individually and in              §
 his official capacity; and DOES 1               §
 and 2, Individually and in their                §
 official capacities,                            §
                                                 §
     Defendants.                                 §

               PLAINTIFF'S ORIGINAL COMPLAINT AND REQUEST FOR
              DECLARATORY JUDGMENT AND FOR INJUNCTIVE RELIEF

        TO THE HONORABLE JUDGE OF SAID COURT:

        NOW COMES YTJCHEN LEI, Plaintiff in the above titled cause, who files his Original

Complaint and Request for Declaratory and Injunctive Relief against Defendants, CHRIS KIRK,

Individually and in his official capacity as Sheriff of Brazos County, Texas, and DOES 1 and 2 9

Individually and in their official capacities, and respectfully brings his causes of action before

this Court.

              PRELIMINARY STATEMENT AND PROCEDURAL HISTORY

        Plaintiff Yuchen Lei, age 27, is a non-resident alien who is a citizen of the People's

Republic of China. He has always been an excellent student, having won numerous awards and

distinctions throughout his academic career. After graduation from High School, he was admitted

to a top university in China where he compiled a sterling academic record. Despite being given

the opportunity to enter the PhD program at his alma mater, he chose to come to the United States



PLAINTIFF' ORIGINAL COMPLAINT AND
REQUEST FOR DECLARATORY JUDGMENT AND
INJUNCTIVE RELIEF                                                                               PAGE 1
           Case 4:17-cv-01615 Document 1 Filed in TXSD on 05/29/17 Page 2 of 11



on a student visa and pursue his doctoral studies at Texas A&M University, where he was also

offered a graduate teaching assistantship.

           On or about January 7. 2014. Mr. Lei was admitted to the emergency room in College

Station as a result of a respiratory infection. While in the emergency room, he was alleged to have

suffered some sort of psychotic break and allegedly assaulted one of the nurses by stabbing him

with a knife. The police were called and upon their arrival, Mr. Lei was alleged to have spat on a

College Station police officer. As a result of this incident, Mr. Lei was arrested and remanded to

the Brazos County Detention Center (hereinafter BCDC") whereupon he was immediately

assaulted by one of the guards who utilized excessive force on Mr. Lei by choking him.

Approximately one week later, another guard deliberately slammed a steel door on Mr. Lei's

fingers.

           Mr. Lei was free on bond from January 18, 2014 until March 20, 2014. While free on

bond, he was expelled from Texas A & M University, which resulted in the invalidation of his

student visa, subjecting him to deportation on account of the alleged assault.

           Commencing February 25, 2014. Mr. Lei spent one week in Austin State Hospital for

observation and diagnosis.

           On March 20, 2014, Mr. Lei was indicted on two felony counts of Aggravated Assault with

a Deadly Weapon and Harassment of a Public Servant in cause number 14-01416-CRF 361, 361

Judicial District. Brazos County, the honorable Steve Smith, presiding. An information was also

filed against Mr. Lei for misdemeanor criminal trespass, which was later dismissed. As aresult of

his felony indictment, Mr. Lei was sent back to the BCDC on a Federal Immigration Detainer,

where he has remained for the past 3 years.




PLAINTIFF ORIGINAL COMPLAINT AND
REQUEST FOR DECLARVFOR\ JUDGMENT AND
INJUNCTIVE RELIEF                                                                            PA(;F: 2
          Case 4:17-cv-01615 Document 1 Filed in TXSD on 05/29/17 Page 3 of 11



          Shortly thereafter. Mr. Lei was kept in solitary confinement for 50 days for some unknown

reason.

          In August, 2016. Mr. Lei entered into a plea agreement on the felony charges with a finding

of not guilty by reason of insanity. After entering the plea, the trial court immediately entered an

Order of Commitment to Inpatient Treatment under Article 46G. 157 cithe Texas Code of Criminal

Procedure. The commitment was to he for 30 days - the maximum allowed under the statute -

during which time Mr. Lei was to be analyzed by the doctors and a determination made as to

whether a long term commitment would be recommended.

          Despite the Order of Commitment having been signed in August, 2016. Mr. Lei remained

in BCDC until January, 2017, even though his trial counsel filed a writ of habeas corpus in

November. 2016 which was granted in part in December, 2016. This prompted a call to the North

Texas State Hospital in Vernon to pick up Mr. Lei lest he he remanded to the custody of the U.S.

Immigration Service for deportation pursuant to the writ of habeas corpus. The hospital picked up

Mr. Lei on January 9. 2017 and he remained in its custody for 30 days before it was forced to

release him because of his declining to remain indefinitely based on what is presumed to be the

hospital*s recommendation that he be committed for an unspecified prolonged period.

Consequently. Mr. Lei was transported back to BCDC, where he currently remains awaiting a jury

trial on the issue of whether he should be involuntarily committed to a mental health facility. Trial

was to have begun on May 5. 2017, but it has been continued indefinitely on the State's motion.

          As a consequence of the foregoing. Mr. Lei complains of the following Constitutional and

State Law violations:

          1. Violations of the Fourth. Eighth. and Fourteenth Amendments to the United States

Constitution:


PLAINTIFF' ORIGINAL CO\IPLAINT AND
REQUEST FOR DECLARATORY JUDGMENT AND
INJUNCTIVE RELIEF                                                                               PAGE 3
        Case 4:17-cv-01615 Document 1 Filed in TXSD on 05/29/17 Page 4 of 11



       2. Deprivation of rights. privileges, or immunities secured   bN1   the Constitution and laws

pursuant to 42 U.S.C. § 1983;

       3. Violation of Tex. Code Crim. Proc. 46C.160;

       4. Violation of Tex. Loc. Gov't Code 35 1.014; and

       5. Intentional Infliction of Emotional Distress under Texas law.

                                 JURISDICTION AND VENUE

                                                                                      331 and
       1. This Court has jurisdiction over Plaintiffs claims pursuant to 28 U.S.C. § I"

       pursuant to § 28 U.S.C. § 1343(a)(3) and (a)(4). This Court has supplemental jurisdiction

       of the Texas state law claims pursuant to 28 U.S.C. § 1367.

       2. Venue lies in the U.S. Southern District of Texas, pursuant to 28 U.S.C. § 1391(b)(2)

       because the events giving rise to the claims occurred therein.

                                                  P PTIQ


       3. Plaintiff YUCHEN LET is an Individual non-residen.t alien who is a citizen of the

       People's Republic of China.

       4. Defendant CHIRS KIRK is the Sheriff of Brazos County, Texas. He is sued herein in

       his official and individual capacities.

       5. Defendants DOES 1 and 2 are individual prison guards at the Brazos County

       Detention Center. Their identities are currently unknown but Plaintiff will amend this

       Complaint to include their true identities once they have been ascertained. They are sued

       herein in their official and individual capacities.

                                                 EXHAUSTION

       6. Plaintiff has exhausted such administrative remedies as were available to him.




PLAINTIFF ORIGINAL COMPLAINT AND
REQUEST FOR DECLARATORY JUDGMENT AND
INJUNCTIVE RELIEF                                                                               PAGE 4
       Case 4:17-cv-01615 Document 1 Filed in TXSD on 05/29/17 Page 5 of 11



                                        PREVIOUS LAWSUITS

      7. Plaintiff has never previously filed any lawsuits in state or federal court relating to his

      imprisonment.

                                              FACTS

      8. On or about January 7. 2014, Plaintiff was admitted to the emergency room in College

      Station as a result of a respiratory infection.

      9. While in the emergency room. Plaintiff allegedly assaulted one of the nurses by stabbing

      him with a knife.

      10. When the police arrived at the emergency room in response to foregoing, Plaintiff

      allegedly spat on a College Station police officer.

      11. As a result of the foregoing ! Plaintiff was arrested and remanded to BCDC whereupon

      he was immediately assaulted by Defendant DOE L. who utilized excessive force on

      Plaintiff by choking him.

       12. Approximately two weeks later, Defendant DOE 2 deliberately slammed a steel door

      on Plaintiffs fingers.

       13. On information and belief, the aforementioned actions by DOES I and 2 were captured

      on video.

       14. During the period of his initial detention BCDC. Plaintiff was expelled from Texas

      A&M, which resulted in the invalidation of his student visa, subjecting him      10   deportation

      on account of the aforementioned alleged assault.

       15. Plaintiff remained in BCDC until on or about February 25, 2014, when he was sent to

      Austin State Hospital for observation and diagnosis.




PLAINTIFF 'ORIGINAL COMPLAINT AND
REQUEST FOR DECLARATORY JUDGMENT AND
INJUNCTIVE RELIEF                                                                                PAGE 5
        Case 4:17-cv-01615 Document 1 Filed in TXSD on 05/29/17 Page 6 of 11



       1 6. Consequently, Mr. Lei remained in the Austin State Hospital until on or about March

       20. 2014 when he was sent back to the BCDC, where he was held on a Federal Immigration

       Detainer.

       17. On or about March 20, 2014, Plaintiff was indicted on two felony counts of Aggravated

       Assault with a Deadl y Weapon and Harassment of a Public Servant in cause number 14-

       01416-CRF 361, 361st Judicial District, Brazos County, the honorable Steve Smith.

       presiding.

       18. At or about the same time, an information was filed against Plaintiff for misdemeanor

       criminal trespass, which was later dismissed.

       19. After the dismissal of the aforementioned misdemeanor. Plaintiff was kept in solitary

       confinement for 50 days for some unknown reason.

       20. At his felony jury trial in August, 2016. Plaintiff was found not guilty by reason of

       insanity.

       21. After entering the verdict, the trial court immediately entered an Order of' Commitment

       to Inpatient Treatment under Article 46C.157 of the Texas Code of Criminal Procedure.

       22. The commitment was to be for 30 days - the maximum allowed under the statute -

       during which time Mr. Lei was to he analyzed by the doctors and a determination made as

       to whether a long term commitment would be recommended.

       23.   After the Order of Commitment was signed. Plaintiff remained in the general

       population of BCDC until January. 2017. when his trial counsel filed a writ of habeas

       corpus, prompting a telephone call to the North Texas State Hospital in Vernon to pick up

       Plaintiff lest he he remanded to the custod y of the U.S. Immigration Service for deportation

       pursuant to the writ of habeas corpus.


PLAINTIFF' ORIGINAL COMPLAINT AND
REQUEST FOR DECLARXIORY JUDGMENT AND
INJUNCTIVE RELIEF                                                                                    6
       Case 4:17-cv-01615 Document 1 Filed in TXSD on 05/29/17 Page 7 of 11



      24. The hospital picked up Mr. Lei the next day and he remained in its custody for 30 days

      before it was forced to release him because of his declining to remain indefinitely based on

      the hospital's recommendation that he be committed for an unspecified prolonged period.

      25. As a consequence of the foregoing, Mr. Lei was transported back to BCDC. where he

      currently remains awaiting a jury trial on the issue of whether he should be involuntarily

      committed to a mental health facility.

      26. Trial was to have begun on May 5, 2017. but it has been continued indefinitely on

      the State's motion.

                                    PRODUCING CAUSES

      27. Plaintiff would show that the acts, practices and/or omissions complained of herein

      were the producing causes of his damages more fully described herein.


                                    CAUSES OF ACTION

                        First Claim for Relief against All Defendants

                                   Constitutional Violations

      28. Defendants engaged in a deliberate and outrageous invasion of Plaintiff s rights

      under the Fourth, Eighth, and Fourteenth Amendments to the United States Constitution.

      Defendants misused and abused the official power granted to them by the state in the

      performance of their official duties thereby depriving Plaintiff of his rights under the

      Fourth. Eighth. and Fourteenth Amendments to the United States Constitution and

      causing him harm.

      29. Defendants engaged in conduct with malice and reckless or callous indifference to

      the dearly established constitutional and statutory rights of Plaintiff.



PLAINTIFF ORIGINAL COMPLAINT AND
REQUEST FOR DECLARATORY JUDGMENT AND
INJUNCTIVE RELIEF                                                                                PAGE 7
        Case 4:17-cv-01615 Document 1 Filed in TXSD on 05/29/17 Page 8 of 11



      30. Defendants knew they had a legal obligation to protect Plaintiff from assault and

      attack and knew that their actions and omissions created a substantial risk of injury to

       Plaintiff. With deliberate indifference to Plaintiffs personal safety, Defendants failed to

      protect Plaintiff from substantial risk of serious harm, in violation of his rights under the

      Eighth and Fourteenth Amendments to the United States Constitution.

                       Second Claim for Relief against All Defendants

                                             42 U.S.C. § 1983

      3 1. Defendants engaged in conduct with malice and reckless or callous indifference to

      the clearly established constitutional and statutory rights of Plaintiff thereby depriving

      Plaintiff of the rights, privileges, or immunities secured by the Constitution and laws

      pursuant to 42 U.S.C. § 1983:

      32. Defendants knew they had a legal obligation to protect Plaintiff from assault and

      attack and knew that their actions and omissions created a substantial risk of injury to

      Plaintiff. With deliberate indifference to Plaintiffs persona] safety. Defendants failed to

      protect Plaintiff from substantial risk of serious harm, in violation of the rights,

      privileges, or immunities secured by the Constitution and laws pursuant to 42 U.S.C. §
       1 (\C)
       I 'IO.).



                        Third Claim for Relief against Defendant Chris Kirk

                         Violation of Tex. Code Crim. Proc. 46C.160

      33. Defendant CHRIS KIRK knew or should have known he was obligated to have

      Plaintiff transferred to the North Texas State Hospital in Vernon within 14 days of the

      361 Judicial District's August 31. 2016 Commitment Order. His failure to do so created




PLAINTIFF' ORIGINAL COMPLAINT AND
REQUEST FOR DECLARATORY JUDGMENT AND
INJUNCTIVE RELIEF                                                                               PGE 8
       Case 4:17-cv-01615 Document 1 Filed in TXSD on 05/29/17 Page 9 of 11



      a substantial risk of injury to Plaintiff and constitutes a violation of Texas Code of

      Criminal Procedure 46C.160.

                   Fourth Claim for Relief against Defendant Chris Kirk

                            Violation of Tex. Loc. Gov't Code 351.014

      34. Defendant CHRIS KIRK knew or should have known that after Plaintiff was

      acquitted by reason of insanity in Cause Number 14-01416-CRF, he was obligated to

      provide Plaintiff with certain statutorily mandated accommodations. His failure to do so

      created a substantial risk of injury to Plaintiff and constitutes a violation of Texas Local

      Government Code 35 1.014.

                           Fifth Claim for Relief against All Defendants

             Outrageous Conduct/Intentional infliction of Emotional Distress

      35. Defendants. recklessly and with the intention of causing Plaintiff severe emotional

      distress, engaged in extreme and outrageous conduct by promoting a threatening and

      unduly hostile and antagonistic environment.

      36. Defendants engaged in conduct with malice and reckless or callous indifference to

      Plaintiffs rights.

      37. As a direct and proximate result of Defendants' acts, which were so outrageous in

      character and extreme in degree as to be intolerable in a civilized community. Plaintiff

      suffered severe mental and emotional distress and was injured and damaged thereby.

                                      Sixth Claim for Relief

                                      Declaratory Judgment

      38. As a direct and proximate result of Defendants' aforementioned acts and omissions..

      Plaintiff is entitled to a Declaratory Judgment that the policies, practices, acts and


PLAINTIFF' ORIGINAL COMPLAINT AND
REQUEST FOR DECLARATORY JUDGMENT AND
INJUNCTIVE RELIEF                                                                              PAGE 9
       Case 4:17-cv-01615 Document 1 Filed in TXSD on 05/29/17 Page 10 of 11



      omissions complained of herein violated Plaintiffs rights under the United States

      Constitution and laws of the United States.

                                    Seventh Claim for Relief

               Request for Preliminary Injunction Pursuant to FRCP 65(a)

      39. Plaintiff is currently awaiting the setting ofajury trial in the 361 Judicial District

      Court. Brazos County, to determine whether he is to he involuntarily committed to a

      mental health facility.

      40. Plaintiff is not a citizen of the State of Texas or of the United States.

      Plaintiff is facing deportation as a result of his felony arrests described herein, and

      indeed, he still has a Federal Immigration Detainer holding him in BCDC.

      Irreparable harm will accrue to Plaintiff in the event he is involuntarily committed to a

      mental health facility in Texas at the taxpayers' expense. without further legal recourse in

      an alien culture when it is possible for him to receive any necessary mental health

      treatment in his own country. with the support of his family. culture and governmental

      health care system.

      41. Accordingly, Plaintiff requests the issuance of a preliminary injunction, after notice

      and hearing, enjoining all further proceedings in the 361 Judicial District Court, Brazos

      County, relating to his involuntary commitment to a mental health facility in Texas.

                                    RELIEF REQUESTED

      WHEREFORE. Plaintiff requests the following relief from this Court:

       1. Compensatory damages against all Defendants;

      2. Punitive damages against all Defendants in their individual capacities;




PLAINTIFF' ORIGINAL COMPLAINT AND
REQUEST FOR DECLARATORY JUDGMENT AND
INJUNCTIVE RELIEF                                                                               PAGE 10
          Case 4:17-cv-01615 Document 1 Filed in TXSD on 05/29/17 Page 11 of 11



          3. A declaratory judgment that the policies, practices, acts and omissions complained of

herein violated Plaintiffs rights under the United States Constitution and laws of the United

States;

          4. A prelimirarv and permanent injunction enjoining all further proceedings in the 361st

Judicial District Court, Brazos County, relating to his involuntary commitment to a mental health

facility in Texas;

          5. Reasonable attorneys fees and costs pursuant to 42 U.S.C. § 1988: and

          6. Such further relief as the Court may deem just and proper.

                                                Respectfully submitted.

                                                WILLIAM A. P1(3G, PL.LC

                                                By: Is! William A. Pigg
                                                     William A., Pigg
                                                     Texas Bar No. 24057009
                                                     Email: wapigg_1awyahoo.com
                                                     10455 N. Central Expressway, Suite 109
                                                     Dallas, TX 75231
                                                     Tel. (214) 551-9391
                                                     Fax. (214) 602-8832
                                                     Attorney for Plaintiff YLJCHEN LEI




PLAINTIFF' ORIGINAL COMPLAINT AND
REQUEST FOR DECLARATORY JUDGMENT AND
INJUNCTIVE RELIEF                                                                             PAGE 11
